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SLF-0274

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

ANDREW RITZ AND MICHAEL RITZ,
Case No. 3:20-cv-13509
Plaintiffs,

¥v.
: CERTIFICATION OF

NISSAN-INFINITE LT; TRANS UNION, LLC; : STEVEN L. FOX, ESQ. IN
EQUIFAX INFORMATION SERVICES, LLC; : REPLY TO PLAINTIFFS’
and EXPERIAN INFORMATION SOLUTIONS,: OPPOSITION TO NISSAN MOTOR
INC., : ACCEPTANCE COMPANY, LLC’S

MOTION FOR

SUMMARY JUDGMENT

Defendants. f

I, STEVEN L. FOX, ESQ., of full age, does hereby certify that:

1. I am an attorney at law in the State of New Jersey and a partner in the law firm of
Lindabury, McCormick, Estabrook & Cooper, P.C., counsel for Defendant Nissan Motor
Acceptance Company, LLC ffk/a Nissan Motor Acceptance Corporation (hereinafter referred to
as “NMAC”) improperly pled as Nisan-Infiniti, LT in the above captioned matter. I make this
Certification on personal knowledge derived by me as counsel for NMAC.

2. [attach hereto as Exhibit “A” a true copy of the deposition transcript of Allison Edmond

dated August 2, 2021, referred to in the accompanying reply brief.

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3. J attach hereto as Exhibit “B” a true copy of the Notice of 30(b)(6) Deposition to Nissan
Duces Tecum served January 25, 2022.

4. ILattach hereto as Exhibit “C” a true copy of the deposition transcript of Deborah Donley
dated January 28, 2022, referred to in the accompanying reply brief.

5. | attach hereto as Exhibit “D” a true copy of the case cited in NMAC’s reply brief of

Johnson v. Sheffield Financial, 2020 WL 3546900.

6. I attach hereto as Exhibit “E” a true copy of the case cited in NMAC’s reply brief of

Mohnkern v. Equifax Information Services, LLC, 2021 WL 5239902.

7. [attach hereto as Exhibit “F” a true copy of the appellate brief of amicus curiae Chamber
of Commerce, et al. in Milgram v. Chase Bank USA, N.A., 2022 WL 5240547.

8. I make this Certification in reply to Plaintiffs’ opposition to NMAC’s motion for summary
judgment seeking dismissal of the Complaint with prejudice as against NMAC.

I certify that the foregoing statements made by me are true. I am aware that if any of my

statements are willfully false that 1 am subject to punishment by this Court.

Steven L. Fox, Esq.

Dated: October 17, 2022

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